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BEFORE: STEVEN I. LOCKE                                                  DATE: 12/5/2017
UNITED STATES MAGISTRATE JUDGE                                           TIME: 11:30 am

     CRIMINAL CAUSE FOR ARRAIGNMENT AND PLEA ON MISDEMEANOR
                           INFORMATION

DOCKET No. CR 17-653(SIL) USA v. LANDSMAN

DEFENDANT: Lloyd Landsman      DEF. # 1
☒ Present ☐ Not Present   ☐ Custody ☒ Surrender
DEFENSE COUNSEL: Lawrence Carra
☐ Federal Defender  ☐ CJA                              ☒      Retained

A.U.S.A.: Charles Kelly
PRETRIAL: Amanda Sanchez
FTR LOG : 11:35-11:57 MAGISTRATE DEPUTY: KMG

☒       Case called     ☒     Counsel for all sides present

☒ Initial Appearance and Arraignment
☒       Order Setting Conditions of Release and Bond entered.

☒       Defendant is sworn, arraigned, informed of his rights, and waives trial before District

Court
☒ Defendant enters a Plea of Guilty to Count 1 of the Misdemeanor Information
☒ Court finds a factual basis for the plea and accepts it
Sentencing:      ☒ To be set by probation
Defendant:       ☒ Bail Set
☒ Plea agreement marked as Ex. 1 and returned to the Government.
☒ Transcript ordered
OTHER: Defendant waives a public reading of the Misdemeanor Information. Upon defendant’s
consent to proceed before a United States Magistrate Judge, Magistrate Judge Locke, having
administered the allocution and finding that the plea was knowingly and voluntarily made and
not coerced, Judge Locke accepts the guilty plea.
